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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


GREENTHREAD, LLC

               Plaintiff,                                 Civil Action No. 2:23-cv-212

       vs.

OMNIVISION TECHNOLOGIES INC.,                             JURY TRIAL DEMANDED

               Defendant.


               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Greenthread, LLC (“Greenthread” or “Plaintiff”) files this Original Complaint

against OmniVision Technologies Inc., (“OmniVision” or “Defendant”) and hereby alleges as

follows:


                              THE NATURE OF THE ACTION

       1.      This is a patent infringement action. Two related actions are pending in this court

for infringement of the same patents: Greenthread, LLC v. OSRAM GMBH et al., 23-cv-00179-

JRG (E.D. Tex.) and Greenthread, LLC v Texas Instruments Incorporated, 23-cv-00157-JRG

(E.D. Tex.). This Court has already construed the claims of the patents-in-suit and/or patents of

the same family in Greenthread, LLC v. Samsung Electronics Co., Ltd. et al., 19-cv-00147-JRG

(E.D. Tex.). See Dkt. 67.

       2.      Greenthread owns a family of patents related to transistors and other components

of integrated semiconductor devices. Greenthread’s patented inventions describe semiconductor

devices that employ graded dopants and well regions for creating electric fields for aiding and/or

limiting the movement of carriers to (or from) the semiconductor surface to (or from) the



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semiconductor substrate. These inventions improve semiconductor devices by (1) creating faster,

more efficient, and more reliable processors, logic devices, and image sensors; and (2) allowing

manufacturers to scale down the feature size of their semiconductor products.

       3.     Defendant has infringed and continues to infringe six Greenthread patents: U.S.

Patent Nos. 8,421,195 (“the ’195 Patent”), 9,190,502 (“the ’502 Patent”), 10,510,842 (“the ’842

Patent”), 10,734,481 (“the ’481 Patent”), 11,121,222 (“the ’222 Patent”), and 11,316,014 (“the

’014 Patent”), (collectively “the Greenthread Patents”), copies of which are attached hereto as

Exhibits 1-6, respectively. Defendant has infringed and continue to infringe the Greenthread

Patents by making, using, selling, offering for sale, and/or importing into the United States,

semiconductor devices with infringing graded dopant regions and/or electronic products

containing the same.


                                        THE PARTIES

       4.     Plaintiff Greenthread, LLC (“Greenthread”) is a limited liability company

organized and existing under the laws of Texas, having its principal place of business at 7424

Mason Dells Drive, Dallas, Texas 75230-3244.

       5.     Defendant OmniVision Technologies, Inc. is a corporation organized and existing

under the laws of Delaware. Defendant may be served with process by serving its registered agent,

the Corporation Trust Company, at 1209 Orange Street, Wilmington, Delaware, 19801.

       6.      OmniVision designs and develops digital imaging products for use in mobile

phones, security & surveillance, automotive, computing, medical, and emerging applications.

OmniVision describes itself as a “global fabless semiconductor organization” who has “enabled

smoother human/machine interfacing solutions within the automotive, medical, security &




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surveillance, computing, mobile phone, and emerging technology spaces.”1

         7.     OmniVision controls the www.ovt.com internet domain.

         8.     OmniVision designs, tests, imports into the United States, uses, sells, and offers to

sell OmniVision Accused Products, which occurs in the United States. OmniVision has employees

throughout the United States including responsible for these functions, including in Texas,

California, Colorado, Illinois, and Michigan.2

         9.     During Omnivision’s markeing, testing, and quality control, OmniVision uses and

sells sample products of the Omnivision Accused Products in the United States.3 Those uses of

the OmniVision Accused Products are essential to its ability to make sales to customers world-

wide, including in the United States.




1
    https://www.ovt.com/company/about-us/
2
    https://www.ovt.com/company/contact-us/
3
    https://www.ovt.com/partners/

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       10.     Further, OmniVision partners with United States authorized distributors to sell

OmniVision Accused Products in the United States and directs potential U.S. consumers to

purchase OmniVision products through these U.S. distributors and “representatives” on its

website.4




4
 See, e.g., https://www.ovt.com/contact-sales/distribution-channels; see also
https://www.arrow.com/en/manufacturers/omnivision-technologies/view-all

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        11.     OmniVision sells OmniVision Accused Products in the United States through its

distributors on OmniVision-branded product pages.




        12.     OmniVision’s U.S.-based employees include personnel responsible for sales of

OmniVision Accused Products to the U.S. automotive industry.

        13.     OmniVision maintains an office in this district at 1255 W. 15th Street, Suite 370

Plano, TX 75075-4216. On information and belief, OmniVision uses its Plano office to serve and

make infringing sales of the Accused Products to its customer Texas Instruments Inc. (“Texas

Instruments”) in this district.5




5
      https://www.ti.com/about-ti/company/ti-at-a-glance/manufacturing/richardson.html#more-
information

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       14.     Texas Instruments incorporates OmniVision Accused Products into its products,

including, on information and belief at Texas Instruments facilities in this district.

       15.     For example, Texas Instruments markets an “Automotive 1.3-MP Low-Cost

Camera Module Reference Design With YUV422, PMIC, FPD-Link III, and POC” which includes



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an OmniVision Accused Product, a “1.3-MP OX01F10 image sensor from Omnivision.”6




         16.    For example, Texas Instruments also markets a “Low-Power Wireless Camera

Reference Design for Extended Battery Life” stating that it includes an OmniVision Accused

Product: “This design utilizes the OmniVision OA7000 to enable secured live video streaming

with a resolution of up to 1080p at 48 FPS (1920 × 1080).”7




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    https://www.ti.com/lit/ug/tidubf0/tidubf0.pdf?ts=1683552290038
7
https://www.ti.com/lit/ug/tiduez4/tiduez4.pdf?ts=1683652725026&ref_url=https%253A%252F
%252Fwww.google.com%252F

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       17.     For example, Texas Instruments also markets a “ADAS 8-Channel Sensor Fusion

Hub Reference Design With Two 4-Gbps Quad Deserializers” which is “built around … an

OmniVision OV2775 imager,” which is an OmniVision Accused Product.




                             SUBJECT MATTER JURISDICTION

       18.     This action arises under the patent laws of the United States, namely 35 U.S.C.

§§ 271, 281, and 284-285, among others.

       19.     This court has subject matter jurisdiction over the patent infringement claims

asserted in this case under 28 U.S.C. §§ 1331 and 1338(a).


                          PERSONAL JURISDICTION AND VENUE

       20.     This Court has specific personal jurisdiction over Defendant because it has

committed acts within this District giving rise to this action (including acts of infringement) and

has established minimum contacts with this forum such that the exercise of jurisdiction over

Defendant would not offend traditional notions of fair play and substantial justice. Such acts

include selling, offering to sell, demonstrating, and marketing OmniVision Accused Products to

Texas Instruments in this district.

       21.     Venue is proper under 28 U.S.C. §§ 1391(b) and 1400(b), because OmniVision has

a regular and established place of business in this district, including at 1255 W. 15th Street, Suite

370 Plano, TX 75075-4216 and has committed acts of infringement in this district, including sales

to Texas Instruments.


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         22.    This Court has personal jurisdiction over OmniVision in accordance with the Texas

Long Arm Statute, Tex. Civ. Prac. & Rem. Code § 17.042, because, among other things,

OmniVision has (1) committed acts of infringement in Texas, including, on information and belief,

selling, offering to sell, and demonstrating OmniVision Accused Products in Texas, including to

Texas Instrument, and (2) recruited Texas residents for employment, including at OmniVision’s

facility in Plano Texas.

         23.    “OmniVision Accused Products” are products accused of meeting the claim

limitations of a Greenthread Patent in this suit. OmniVision designs, manufactures, sells, and uses

semiconductor devices containing transistors and other structures that infringe the Greenthread

Patents in the United States.

         24.    The infringing structures within semiconductor devices identified in Exhibit 8 have

application, not only in the product identified in Exhibit 8 (OV24A1Q), but in many types of

devices designed and manufactured by OmniVision, including image sensors, ASICs,

CameraCubeChip®, LCOS, power management, touch & display, OVMed® ISP, and OVMed®

cable module devices.8 To obtain the benefits of the claimed technology, on information and

belief, OmniVision incorporates the infringing structures similar to those described in Exhibit 8

into transistors in its other products, including ASICs, CameraCubeChip®, LCOS, power

management, touch & display, OVMed® ISP, and OVMed® cable module devices.                      The

infringement described in Exhibit 8 is therefore exemplary of infringement by transistors in other

OmniVision products.

         25.    Exhibit 8 demonstrates how exemplary OmniVision Accused Products meet the

claim limitations of Greenthread Patents and is herein incorporated by reference.


8
    https://www.ovt.com/company/about-us/

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                                THE GREENTHREAD PATENTS

         26.    On April 16, 2013, the U.S. Patent and Trademark Office duly and legally issued

U.S. Patent No. 8,421,195 (“the ’195 Patent”), entitled “Semiconductor Devices with Graded

Dopant Regions,” listing Dr. Mohan Rao as the inventor, from a patent application filed January

12, 2007. The ’195 Patent claims priority from U.S. Patent Application No. 10/934,915,9 filed on

September 3, 2004. A true and correct copy of the ’195 Patent is attached hereto as Exhibit 1 and

incorporated herein by reference.

         27.    On November 17, 2015, the U.S. Patent and Trademark Office duly and legally

issued U.S. Patent No. 9,190,502 (“the ’502 Patent”), entitled “Semiconductor Devices with

Graded Dopant Regions,” listing Dr. Mohan Rao as the inventor, from a patent application filed

October 16, 2014. The ’502 Patent claims priority from U.S. Patent Application No. 10/934,915,10

filed on September 3, 2004. A true and correct copy of the ’502 Patent is attached hereto as Exhibit

2 and incorporated herein by reference.

         28.    On December 17, 2019, the U.S. Patent and Trademark Office duly and legally

issued U.S. Patent No. 10,510,842 (“the ’842 Patent”), entitled “Semiconductor Devices with

Graded Dopant Regions,” listing Dr. Mohan Rao as the inventor, from a patent application filed

on May 9, 2017. The ’842 Patent claims priority from U.S. Patent Application No. 10/934,915,11

filed on September 3, 2004. A true and correct copy of the ’842 Patent is attached hereto as Exhibit

3 and incorporated herein by reference.

         29.    On August 4, 2020, the U.S. Patent and Trademark Office duly and legally issued



9
    Pub. No. US 2006/0049464.
10
     Pub. No. US 2006/0049464.
11
     Pub. No. US 2006/0049464.

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U.S. Patent No. 10,734,481 (“the ’481 Patent”), entitled “Semiconductor Devices with Graded

Dopant Regions,” listing Dr. Mohan Rao as the inventor, from a patent application filed on

December 17, 2019. The ’481 Patent claims priority from U.S. Patent Application No.

10/934,915,12 filed on September 3, 2004. A true and correct copy of the ’481 Patent is attached

hereto as Exhibit 4 and incorporated herein by reference.

         30.    On September 14, 2021, the U.S. Patent and Trademark Office duly and legally

issued U.S. Patent No. 11,121,222 (“the ’222 Patent”), entitled “Semiconductor Devices with

Graded Dopant Regions,” listing Dr. Mohan Rao as the inventor, from a patent application filed

on July 27, 2020. The ’222 Patent claims priority from U.S. Patent Application No. 10/934,915,13

filed on September 3, 2004. A true and correct copy of the ’222 Patent is attached hereto as Exhibit

5 and incorporated herein by reference.

         31.    On April 26, 2022, the U.S. Patent and Trademark Office duly and legally issued

U.S. Patent No. 11,316,014 (“the ’014 Patent”), entitled “Semiconductor Devices with Graded

Dopant Regions,” listing Dr. Mohan Rao as the inventor, from a patent application filed on July 9,

2021. The ’014 Patent claims priority from U.S. Patent Application No. 10/934,915,14 filed on

September 3, 2004. A true and correct copy of the ’014 Patent is attached hereto as Exhibit 6 and

incorporated herein by reference.

         32.    The ’195, ’502, ’842, ’481, ’222, and ’014 Patents are collectively referred to as

the “Greenthread Patents.”

         33.    Greenthread exclusively owns all rights, title, and interest in the Greenthread


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     Pub. No. US 2006/0049464.
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     Pub. No. US 2006/0049464.
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     Pub. No. US 2006/0049464.

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Patents necessary to bring this action, including the right to recover past and future damages.

Certain of the Greenthread Patents were previously owned by Dr. G.R. Mohan Rao (“Dr. Rao”).

On April 27, 2015, Dr. Rao assigned to Greenthread the then-issued Greenthread Patents and all

related “continuations, continuations-in-part and extensions of said Applications and Patents and

any pending applications or issued patents that directly claim or are amended to claim priority to

any of the Applications or Patents.” Dr. Rao’s assignment was recorded with the U.S. Patent and

Trademark Office on May 13, 2015, and again on July 22, 2021, and is attached hereto as Exhibit

7. Greenthread has therefore owned all rights to the Greenthread Patents necessary to bring this

action throughout the period of Defendant’s infringement and still owns those rights to the

Greenthread Patents.

       34.     Defendant is not currently licensed to practice the Greenthread Patents.

       35.     The Greenthread Patents are valid and enforceable.

                                 FACTUAL BACKGROUND

       36.     Dr. G.R. Mohan Rao (“Dr. Rao”), the sole inventor of the Greenthread Patents, has

been an innovator in the semiconductor industry since the 1960s. He is a named inventor on more

than 100 Patents worldwide and authored numerous technical publications over the last 50 years.

       37.     In September 1968, Dr. Rao received a Ph.D. in physics with a specialization in

electronics from Andhra University in Waltair, India. He then traveled to the United States to

attend a graduate program in physics at the University of Cincinnati.

       38.     After learning of an opportunity to work with Professor William Carr of Southern

Methodist University (“SMU”), Dr. Rao transferred to SMU where he earned a Ph.D. in Electrical

Engineering. While there, he worked in the SMU laboratory with Jack Kilby of Texas Instruments

(a pioneering electrical engineer who would later receive a Nobel Prize for his work), on metal-

oxide-silicon transistors (“MOS devices”), which are used for switching and amplifying electronic

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signals in electronic devices. MOS devices form the basis of modern electronics and are the most

widely used semiconductor devices in the world. The U.S. Patent and Trademark Office has called

this device a “groundbreaking invention that transformed life and culture around the world.”15 Dr.

Rao built these devices from scratch while a graduate student at SMU.

       39.     Through his mentor, Jack Kilby, Dr. Rao interviewed with—and was ultimately

hired by—Texas Instruments to continue his work on MOS devices in 1972. Dr. Rao worked at

Texas Instruments for the next twenty-two years, rising from an engineer to a Senior Fellow. At

that time, Texas Instruments had only 12 Senior Fellows out of approximately 20,000 engineers.

Eventually, Dr. Rao moved into a management position at Texas Instruments, ultimately becoming

a Senior Vice President in 1985.

       40.     At Texas Instruments, Dr. Rao received his first patent while working in a process

and product engineering capacity to solve a production problem with Texas Instruments’ 4-kilobit

RAM product. That patent was merely the beginning of Dr. Rao’s long inventive career. Indeed,

from the late 1970s through the mid-1980s, Dr. Rao worked on or managed projects relating to

Texas Instruments’ 64kb RAM, 256Kb RAM, 1Mb RAM, 4 Mb RAM, EEPROM, SRAM, and

microcontrollers. For that work, Dr. Rao received numerous additional U.S. Patents.

       41.     The USPTO was not the only organization to recognize Dr. Rao’s achievements.

Some of Dr. Rao’s work at Texas Instruments was so remarkable that it has been credited in

multiple exhibits in the National Museum of American History at the Smithsonian Institution.16

For example, the Smithsonian has displayed Texas Instruments’ experimental 1-megabit CMOS

DRAM, produced in April 1985 under Dr. Rao’s leadership, and credited Dr. Rao for the



15
   https://www.uspto.gov/about-us/news-updates/remarks-director-iancu-2019-international-
lectual-property-conference
16
   http://smithsonianchips.si.edu/texas/wafer.htm

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achievement.17




          42.    In 1994, Dr. Rao left Texas Instruments for Cirrus Logic. During his two-year

tenure at Cirrus Logic, he received more U.S. Patents relating to his work on integrated graphics

controllers and memory.

          43.    In 1996, Dr. Rao started a company called Silicon Aquarius. Through a relationship

between Silicon Aquarius and Matsushita, Dr. Rao led a design team in working on a 256Mb

DRAM chip. After Silicon Aquarius ceased operations, Dr. Rao did consulting work for a number

of different consulting companies and devoted much of his free time to thinking about various

challenges and problems with which the semiconductor industry had struggled for years.

          44.    In 2003, Dr. Rao and Philip John founded Greenthread to continue Dr. Rao’s


17
     http://smithsonianchips.si.edu/texas/t_360.htm

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pioneering work. A focal point of Dr. Rao’s research was poor refresh time and the related

problem of how to deal with and control the movement of both wanted and unwanted carriers in

semiconductor devices, including memory and logic devices. Dr. Rao realized that graded dopants

could be used to create a “drift layer” and other structures to facilitate the movement—in an

upward or downward direction, as appropriate—of carriers from the semiconductor surfaces down

into the substrate and vice versa. It was Dr. Rao’s work on this problem that culminated in the

Greenthread Patents.

       45.      Dr. Rao resides in this district.


                               OMNIVISION’S INFRINGEMENT

       46.      OmniVision has directly infringed, and continues to infringe, one or more claims

of each of the Greenthread Patents through making, using, offering to sell, selling within the United

States, and/or importing into the United States semiconductor products, including OV24A1Q, that

practice the claimed inventions (i.e., the OmniVision Accused Products). A non-exhaustive,

exemplary list of the types or categories of products or devices that infringe are further identified

in Exhibit 8.

       47.      Further, in concert with its authorized distributors and customers, OmniVision

causes or induces infringing accused products to be made, used, offered to be sold, sold within the

United States, and/or imported into the United States. Omnivision has obtained knowledge of

Greenthread’s patents and its infringement at least through the filing of this Complaint.

       48.      As shown in Exhibit 8, the exemplary OmniVision Accused Product, OV24A1Q,

meets each and every element of at least one claim of the Greenthread Patents.

       49.      Upon information and belief, OmniVision fabricates and designs the OmniVision

Accused Products using similar designs according to a limited number of processes, many or all


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of which utilize substantially similar process steps, including process steps for creating regions

with graded dopant concentrations, because the invention would have application in those

categories of products, for example by improving switching time in transistors in the OmniVision

Accused Products. Upon information and belief, the OmniVision Accused Products are in relevant

part substantially similar to the exemplary OV24A1Q shown in Exhibit 8, particularly with regard

to the manner in which the exemplary OV24A1Q includes and utilizes regions with graded dopant

concentrations. Exhibit 8 is thus illustrative of the manner in which the OmniVision Accused

Products meet the claim limitations of the Greenthread Patents.18


               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 8,421,195

       50.     Greenthread incorporates by reference and re-alleges all of the foregoing

paragraphs of this Complaint and exhibits attached hereto as if fully set forth herein.

       51.     The following allegations are based on publicly available information and a



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   This Court already interpreted and adopted Greenthread’s claim construction in Greenthread,
LLC v. Samsung Electronics Co., Ltd. et al., Case No. 2:19-cv-00147-JRG (E.D. Tex.). See Dkt.
67. Multiple other courts have also upheld Greenthread’s construction of the Greenthread Patents
in related matters. In Greenthread, LLC v. Intel Corp., et al., Case No. 6:22-cv-00105-ADA (W.D.
Tex.), the Western District of Texas similarly issued a preliminary claim construction order
adopting Greenthread’s construction. See Dkt. 36-21 in Greenthread, LLC v. Intel Corp., Case No.
3:22-cv-02001-JR (attaching as an exhibit the Western District of Texas’s preliminary claim
construction order in a status update before the District of Oregon). The claims in this matter
against Intel were ultimately severed and transferred to Oregon, and the District of Oregon adopted
the Western District of Texas’ preliminary claim construction. See Dkt. 44 (“The Court also finds
that the WDTX’s preliminary constructions and summary judgment rulings are neither legally
incorrect nor factually distinguishable. As a result, the Court adopts the WDTX’s preliminary
constructions and summary judgment rulings as its own. . .”). The Western District of Texas also
denied Defendants’ motions to dismiss and for summary judgment on similar grounds. See Dkt.
36-22 in Greenthread, LLC v. Intel Corp., Case no. 3:22-cv-02001-JR (attaching as an exhibit the
Western District of Texas’ denial of Defendants’ motion for summary judgment); Dkt. 110 in
Greenthread LLC v. Intel Corp., Case No. 6:22-cv-00105-ADA (W.D. Tex.). The District of
Oregon similarly adopted these rulings. See Dkt. 44 in Greenthread, LLC v. Intel Corp., Case no.
3:22-cv-02001-JR.

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reasonable investigation of the structure and operation of the OmniVision Accused Products.

Greenthread reserves the right to modify this description, including, for example, on the basis of

information about the OmniVision Accused Products that it obtains during discovery.

       52.       Defendant’s infringement has damaged and continues to damage Greenthread in an

amount yet to be determined, of at least a reasonable royalty.

       53.       As alleged above and in Exhibit 8, the products analyzed in Exhibit 8 meet each

and every one of the claim limitations of at least one claim of the ’195 Patent.

       54.       As alleged above, the products analyzed in Exhibit 8 are exemplary of the

OmniVision Accused Products.

       55.       As alleged above, Defendant has infringed and continue to infringe at least one

claim of the ’195 Patent by making, using, offering to sell, selling within the United States, and/or

importing into the United States OmniVision Accused Products.

       56.       As alleged above, Defendant induces infringement of at least one claim of the ’195

Patent by designing and marketing infringing products for sale, use, and importation into the

United States.

       57.       Defendant’s infringement has damaged and continues to damage Greenthread in an

amount yet to be determined, of at least a reasonable royalty.


                 COUNT II: INFRINGEMENT OF U.S. PATENT NO. 9,190,502


       58.       Greenthread incorporates by reference and re-alleges all of the foregoing

paragraphs of this Complaint and exhibits attached hereto as if fully set forth herein.

       59.       The following allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the OmniVision Accused Products.

Greenthread reserves the right to modify this description, including, for example, on the basis of

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information about the OmniVision Accused Products that it obtains during discovery.

       60.       As alleged above and in Exhibit 8, the products analyzed in Exhibit 8 meet each

and every one of the claim limitations of at least one claim of the ’502 Patent.

       61.       As alleged above, the products analyzed in Exhibit 8 are exemplary of the

OmniVision Accused Products.

       62.       As alleged above, Defendant has infringed and continue to infringe at least one

claim of the ’502 Patent by making, using, offering to sell, selling within the United States, and/or

importing into the United States OmniVision Accused Products.

       63.       As alleged above, Defendant induces infringement of at least one claim of the ’502

Patent by designing and marketing infringing products for sale, use, and importation into the

United States.

       64.       Defendant’s infringement has damaged and continues to damage Greenthread in an

amount yet to be determined, of at least a reasonable royalty.


             COUNT III: INFRINGEMENT OF U.S. PATENT NO. 10,510,842

       65.       Greenthread incorporates by reference and re-alleges all of the foregoing

paragraphs of this Complaint and exhibits attached hereto as if fully set forth herein.

       66.       The following allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the OmniVision Accused Products.

Greenthread reserves the right to modify this description, including, for example, on the basis of

information about the OmniVision Accused Products that it obtains during discovery.

       67.       As alleged above and in Exhibits 8, the products analyzed in Exhibit 8 meet each

and every one of the claim limitations of at least one claim of the ’842 Patent.

       68.       As alleged above, the products analyzed in Exhibit 8 are exemplary of the


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OmniVision Accused Products.

       69.       As alleged above, Defendant has infringed and continue to infringe at least one

claim of the ’842 Patent by making, using, offering to sell, selling within the United States, and/or

importing into the United States OmniVision Accused Products.

       70.       As alleged above, Defendant induces infringement of at least one claim of the ’842

Patent by designing and marketing infringing products for sale, use, and importation into the

United States.

       71.       Defendant’s infringement has damaged and continues to damage Greenthread in an

amount yet to be determined, of at least a reasonable royalty.


             COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 10,734,481

       72.       Greenthread incorporates by reference and re-alleges all of the foregoing

paragraphs of this Complaint and exhibits attached hereto as if fully set forth herein.

       73.       The following allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the OmniVision Accused Products.

Greenthread reserves the right to modify this description, including, for example, on the basis of

information about the OmniVision Accused Products that it obtains during discovery.

       74.       As alleged above and in Exhibits 8, the products analyzed in Exhibit 8 meet each

and every one of the claim limitations of at least one claim of the ’481 Patent.

       75.       As alleged above, the products analyzed in Exhibit 8 are exemplary of the

OmniVision Accused Products.

       76.       As alleged above, Defendant has infringed and continue to infringe at least one

claim of the ’481 Patent by making, using, offering to sell, selling within the United States, and/or

importing into the United States OmniVision Accused Products.


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       77.       As alleged above, Defendant induces infringement of at least one claim of the ’481

Patent by designing and marketing infringing products for sale, use, and importation into the

United States.

       78.       Defendant’s infringement has damaged and continues to damage Greenthread in an

amount yet to be determined, of at least a reasonable royalty.


              COUNT V: INFRINGEMENT OF U.S. PATENT NO. 11,121,222

       79.       Greenthread incorporates by reference and re-alleges all of the foregoing

paragraphs of this Complaint and exhibits attached hereto as if fully set forth herein.

       80.       The following allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the OmniVision Accused Products.

Greenthread reserves the right to modify this description, including, for example, on the basis of

information about the OmniVision Accused Products that it obtains during discovery.

       81.       As alleged above and in Exhibit 8, the products analyzed in Exhibit 8 meet each

and every one of the claim limitations of at least one claim of the ’222 Patent.

       82.       As alleged above, the products analyzed in Exhibit 8 are exemplary of the

OmniVision Accused Products.

       83.       As alleged above, Defendant has infringed and continue to infringe at least one

claim of the ’222 Patent by making, using, offering to sell, selling within the United States, and/or

importing into the United States OmniVision Accused Products.

       84.       As alleged above, Defendant induces infringement of at least one claim of the ’222

Patent by designing and marketing infringing products for sale, use, and importation into the

United States.

       85.       Defendant’s infringement has damaged and continues to damage Greenthread in an


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amount yet to be determined, of at least a reasonable royalty.


             COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 11,316,014

       86.       Greenthread incorporates by reference and re-alleges all of the foregoing

paragraphs of this Complaint and exhibits attached hereto as if fully set forth herein.

       87.       The following allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the OmniVision Accused Products.

Greenthread reserves the right to modify this description, including, for example, on the basis of

information about the OmniVision Accused Products that it obtains during discovery.

       88.       As alleged above and in Exhibits 8, the products analyzed in Exhibit 8 meet each

and every one of the claim limitations of at least one claim of the ’014 Patent.

       89.       As alleged above, the products analyzed in Exhibit 8 are exemplary of the

OmniVision Accused Products.

       90.       As alleged above, Defendant has infringed and continue to infringe at least one

claim of the ’014 Patent by making, using, offering to sell, selling within the United States, and/or

importing into the United States OmniVision Accused Products.

       91.       As alleged above, Defendant induces infringement of at least one claim of the ’014

Patent by designing and marketing infringing products for sale, use, and importation into the

United States.

       92.       Defendant’s infringement has damaged and continues to damage Greenthread in an

amount yet to be determined, of at least a reasonable royalty.


                                            DAMAGES

       93.       As a result of OmniVision’s acts of infringement, Greenthread has suffered and

continues to suffer actual and consequential damages. However, Greenthread does not yet know

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the full extent of the infringement and the amount of damages cannot be ascertained except through

discovery and special accounting. To the fullest extent permitted by law, Greenthread seeks

recovery of damages at least for reasonable royalties, unjust enrichment, and benefits received by

Defendant as a result of using the patented technology. Greenthread further seeks any other

damages to which Greenthread is entitled under law or in equity.


                                DEMAND FOR JURY TRIAL

       94.     Greenthread hereby demands a jury trial for all issues so triable.


                                    PRAYER FOR RELIEF

       WHEREFORE, Greenthread respectfully requests that this Court enter judgment in its

favor as follows:

       A.      That Judgment be entered that OmniVision has infringed one or more claims of

the Greenthread Patents, literally and under the doctrine of equivalents;

       B.      That, in accordance with 35 U.S.C. § 283, OmniVision and all its affiliates,

employees, agents, officers, directors, attorneys, successors, and assigns and all those acting on

behalf of or in active concert or participation with any of them, be preliminarily and permanently

enjoined from (1) infringing the Greenthread Patents and (2) making, using, selling, and offering

for sale, or importing into the United States, the OmniVision Accused Products;

       C.      An award of damages sufficient to compensate Greenthread for OmniVision’s

infringement under 35 U.S.C. § 284;

       D.      That the case be found exceptional under 35 U.S.C. § 285 and that Greenthread be

awarded its reasonable attorneys’ fees;

       E.      Costs and expenses in this action;

       F.      Damages for pre-issuance infringement under 35 U.S.C. § 154(d);

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      G.     An award of prejudgment and post-judgment interest; and

      H.     Such other and further relief as the Court may deem just and proper.



Dated: May 10, 2023.                              MCKOOL SMITH, P.C.

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